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16

17                             UNITED STATES DISTRICT COURT

18                                     DISTRICT OF NEVADA

19
     KAJAN JOHNSON and CLARENCE                       Case No.: 2:21-cv-01189-RFB-BNW
20   DOLLAWAY, on behalf of themselves and all
     others similarly situated,                       DEFENDANTS’ MOTION FOR
21                                                    LEAVE TO FILE A NOTICE OF
                              Plaintiffs,             SUPPLEMENTAL AUTHORITY
22

23          v.

24   ZUFFA, LLC, (d/b/a Ultimate Fighting
     Championship and UFC) and Endeavor Group
25   Holdings, Inc.,

26                            Defendants.
27

28


     DEFENDANTS’ MOTION FOR LEAVE TO FILE               Case No.: 2:21-cv-01189-RFB-BNW
     A NOTICE OF SUPPLEMENTAL AUTHORITY
     Case 2:21-cv-01189-RFB-BNW Document 66 Filed 09/29/22 Page 2 of 3



1                   Pursuant to Local Rule 7-2(g), Defendants seek leave to file this supplemental

2    authority, attached hereto as Exhibit B. A court may grant a motion for leave to file a

3    supplemental notice for “good cause.” Local Rule 7-2(g). “Good cause may exist either when the

4    proffered supplemental authority is precedential, or particularly persuasive or helpful.” Alps

5    Prop. & Cas. Ins. Co. v. Kalicki Collier, LLP, No. 19-709-MMD-CLB, 2021 WL 1032290, at *4

6    (D. Nev. Mar. 17, 2021) (internal citation omitted). Defendants submit the attached case post-

7    dating the briefing in this case as supplemental authority, In re Lantus Direct Purchaser Antitrust

8    Litigation, No. 16-12652-LTS, 2022 WL 4239367 (D. Mass. August 17, 2022), report and

9    recommendation adopted 2022 WL 4237276 (D. Mass. September 14, 2022), as a case which

10   may be raised in oral argument at the hearing on September 30, 2022 on the issue of whether

11   Defendant Endeavor Group Holdings, Inc. is liable for claims of monopolization or

12   monopsonization.

13

14   Dated: September 29, 2022                     Respectfully Submitted,

15                                                 PAUL, WEISS, RIFKIND, WHARTON &
                                                   GARRISON LLP
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28

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     Case 2:21-cv-01189-RFB-BNW Document 66 Filed 09/29/22 Page 3 of 3



1                                    CERTIFICATE OF SERVICE

2                   The undersigned hereby certifies that the foregoing Defendants’ Motion for Leave

3    to File a Notice of Supplemental Authority was served on September 29, 2022 via the Court’s

4    CM/ECF electronic filing system addressed to all parties on the e-service list.

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6                                                 /s/ William A. Isaacson
                                                  WILLIAM A. ISAACSON
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     DEFENDANTS’ MOTION FOR LEAVE TO FILE                        Case No.: 2:21-cv-01189-RFB-BNW
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